Case 1:23-cr-00239-CKK Document 102 Filed 08/03/23 Page 1of1

Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)
VS. ) Criminal Case No.: 23-239 (CKK)
)
HEATHER RHIANNON MORGAN
)
WAIVER OF INDICTMENT

L HEATHER RHIANNON MORGAN , the above-named defendant, who is accused of

(Conspiracy To Commit Money Laundering,

in violation of Title 18, United States Code, Section 371)
(Conspiracy To Defraud the United States,

in violation of Title 18, United States Code, Section 371)
(Criminal Forfeiture, pursuant to Title 18, United States Code,
Sections 981(a)(1)(C), 982(a)(1); Title 28, United States Code,
Section 2461(c); and Title 21, United States Code, Section 853(p))

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on AUGUST 3, 2023 prosecution by indictment and consent that

the proceeding may be by information rather than by indictment.

Ye

WA
Defendant

ee cae
Sy DetGrdant

Before: CMe (he Key Date: Z@

COLLEEN KOLLAR-KOTELLY

United States District Judge

